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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                                   2:07-cr-1-FtM-29DNF

RONALD D. LUCZAK
_____________________________


                            OPINION AND ORDER

      This matter comes before the Court on Defendant Ronald D.

Luczak’s Motion to Withdraw Guilty Plea and Request for Evidentiary

Hearing (Doc. #304) filed on April 13, 2009.           The United States’

Response (Doc. #311) in opposition was filed on April 21, 2009.

For the reasons set forth below, the motion is denied.

                                     I.

      On September 10, 2008, defendant Ronald D. Luczak (defendant

or Luczak) entered a plea of guilty to three counts of a multi-

count amended Superceding Indictment pursuant to a written Plea

Agreement (Doc. #266).      At the time, defendant was represented by

attorney Robert Meadows, his fifth attorney in this case.                The

guilty plea colloquy was conducted by the assigned magistrate

judge, and the guilty pleas were accepted by the undersigned the

next day (Doc. #273).      Sentencing was scheduled for December 29,

2008 (see id.), but was continued at the request of Mr. Meadows

until February 17, 2009, to permit additional time for objections

to the Presentence Report.       (Docs. #279, 280.)      Five days before

the re-scheduled sentencing, defendant’s two current attorneys
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filed a Notice of Appearance (Doc. #285) and a Motion to Continue

Sentencing (Doc. #286); the motion for continuance was granted

(Doc. #292) and sentencing was continued until April 14, 2009 (Doc.

#290).

      The   day     before    the       re-scheduled      sentencing,        defendant’s

current attorneys filed the motion to withdraw defendant’s guilty

plea (Doc. #304).       Defendant asserts that he should be allowed to

withdraw his guilty plea because Mr. Meadows provided ineffective

assistance of counsel by failing to properly investigate and

prepare the case for trial and providing incomplete or inaccurate

information    regarding      the       Sentencing       Guidelines    and     potential

sentence,     and   that     the    guilty       pleas    were   not   knowingly      and

voluntarily entered.         Defendant asserts that he is innocent of the

charges, that he has always asserted his innocence, and that he

only agreed to plead guilty when faced with his inability to

proceed to trial because of Mr. Meadows’ ineffective assistance.

                                           II.

      The defendant bears the burden on his motion to withdraw his

guilty plea. United States v. Izquierdo, 448 F.3d 1269, 1276 (11th

Cir. 2006).    Whether to grant a motion to withdraw a guilty plea is

a matter within the sound discretion of the district court.                           Id.

An   evidentiary     hearing       is    not     required    where     the    court   has

conducted extensive Rule 11 inquiries prior to accepting the guilty

plea.    United States v. Brehm, 442 F.3d 1291, 1298 (11th Cir.),

cert. denied, 549 U.S. 985 (2006).                Additionally, a hearing is not
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necessary if the defendant, in moving to withdraw his guilty plea,

only seeks to “relitigate representations made by himself, his

lawyer, and the prosecutor in open court” instead of presenting

factual    allegations   not   directly     contradicted   in    the   record.

United States v. Dabdoub-Diaz, 599 F.2d 96, 100 (5th Cir. 1979).

      Pursuant to FED . R. CRIM . P. 11(d), a defendant may be permitted

to withdraw his guilty plea before the court imposes sentence for

a “fair and just reason.”           FED . R. CRIM . P. 11(d)(2)(B).         In

determining whether a defendant has shown a “fair and just reason,”

the court evaluates the totality of the circumstances, including:

(1) whether the defendant had close assistance of counsel; (2)

whether his plea was knowing and voluntary; (3) whether judicial

resources would be conserved; and (4) whether the government would

be prejudiced by the withdrawal.           Brehm, 442 F.3d at 1298; United

States v. Freixas, 332 F.3d 1314, 1318 (11th Cir. 2003), both

citing United States v. Buckles, 843 F.2d 469, 472 (11th Cir.

1988).    The Court may also consider the timing of the motion, i.e.,

the time between the entry of the plea and the motion to withdraw

may   indicate   the   defendant’s    motivation.       United    States    v.

Gonzalez-Mercado, 808 F.2d 796, 801 (11th Cir. 1987). The district

court is permitted to make a strong presumption of truth regarding

statements made by a defendant during a plea colloquy.                  United

States v. Medlock, 12 F.3d 185, 187 (11th Cir. 1994).

      The record in this case affirmatively establishes that none of

the factors favor withdrawal of the guilty plea.                On August 1,

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2008, well before defendant entered his guilty plea, the magistrate

judge conducted a hearing on Mr. Meadows’ motion to withdraw as

counsel (Doc. #309). During the hearing, Mr. Meadows expressed his

concern about providing ineffective assistance of counsel due to

his lack of federal experience (id. at pp. 3-4).             After hearing

these concerns, defendant stated, “I feel unequivocally, after

dealing with this situation for two years and dealing with lawyers

for the past ten years, that Mr. Meadows could represent me

effectively.”    (Id. at p. 4.)     Defendant repeated, “I believe Mr.

Meadows can represent me properly.”             (Id. at p. 5.)        After

discussion by the magistrate judge, defendant praised Mr. Meadows,

saying, “Although he may not feel it, he’s shown more competency

than I’ve seen with a lot of other attorneys that have been

presented to me in this case.”       (Id. at p. 7.)

      Approximately six weeks later, defendant entered his guilty

plea before the same magistrate judge (see Doc. #310).                   The

transcript of the guilty plea proceedings clearly establishes that

the Rule 11 requirements were fully satisfied.           As it relates to

the matters now before the Court, the magistrate judge asked

defendant if he had enough time to discuss the charges with his

attorney, and whether defendant was satisfied with his attorney’s

services.    (Id. at p. 5.)     Defendant responded, “Yes, your honor”

to the first question and “Absolutely, your honor” to the second

question.    (Id.)



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       Defendant stated that he had talked with his attorney about

how the Sentencing Guidelines might apply to him and his attorney

had explained the various considerations that go into determining

the Sentencing Guidelines range. (Doc. #310, pp. 9-10.) Defendant

confirmed that he was aware that the Sentencing Guidelines allowed

the    Court   to    take    into   account     the   actual     conduct     in   which

defendant engaged, any victims of the offense, the role defendant

played, whether or not defendant engaged in any obstruction of

justice, and whether defendant accepted responsibility for his

acts, as well as other relevant factors, and that his criminal

history      was    an   important     factor    in       applying    the   Sentencing

Guidelines.        (Id.)

       The magistrate judge explained that the Court would not be

able to determine the Sentencing Guidelines range until after a

Presentence Report had been completed and both defendant and the

government had the opportunity to challenge the facts presented in

the report.        (Id. at p. 10.)       The magistrate judge also explained

that it was unlikely that defendant’s attorney could be specific as

to the Sentencing Guidelines range applicable to defendant, because

he had not seen the Presentence Report and did not have all of the

necessary information.           (Id.)    The magistrate judge then asked:

“You understand you will not be able to withdraw your plea of

guilty on the ground that any prediction your attorney may have

made    as   to    the     guideline   range    or    a    sentence    proves     to   be

inaccurate?”, to which defendant responded, “Yes, Your Honor.”

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(Doc. #310, p. 10.)       Defendant also told the magistrate judge that

he understood he could not withdraw his guilty plea if the Court

declined to follow recommendations contained in the Plea Agreement

regarding     the   sentence   or   the     application   of   the   Sentencing

Guidelines (Id. at p. 7).

      Defendant confirmed that he had authorized his attorney to

have discussions with the government’s attorney to seek a plea

agreement, had read the Plea Agreement and discussed it with his

attorney before he signed it, and felt like he understood the Plea

Agreement.     (Id. at pp. 6-7.)      Defendant also confirmed that the

Plea Agreement contained all of the promises made by the government

or by himself, and that there were no verbal promises or other

representations made by the government that were not contained in

the Plea Agreement.       (Id. at p. 8.)

      The    magistrate    judge    asked    defendant,   “Has   anyone   done

anything which you consider to be wrong or unfair to get you to

plead guilty to these charges?” and “Have there been threats or

coercion or improper pressure of any kind placed on you to get you

to plead guilty?”         (Id. at p. 5.)       To each question, defendant

responded, “No, Your Honor.”          (Id.)     The magistrate judge asked

defendant, “Do you want to plead guilty to these charges because

you are guilty?”, and defendant responded, “Yes, Your Honor.”

(Id.)       The magistrate judge then asked, “Is there any other

reason?”, and defendant replied, “No, Your Honor.”              (Id. at pp. 5-

6.)

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       After explaining the penalties and elements of each offense,

the magistrate judge asked defendant to describe what he did that

made him guilty of the offenses.              Defendant did so, and answered

the magistrate judge’s follow-up factual questions.              (Doc. #310,

pp. 17-21.)    The magistrate judge then asked defendant, “[D]o you

still desire to plead guilty as to Counts 1, 7, and 9,” to which

defendant replied, “Yes, Your Honor.”                (Id. at p. 21.)       The

magistrate judge then asked, “Is there anything you want to tell me

or ask me or your attorney that bears on your decision to plead

guilty that we haven’t already covered in this proceeding?”, and

defendant responded, “No, Your Honor.”             (Id.)   When asked how he

plead, defendant stated, “I plead guilty, Your Honor.”            (Id.)   When

asked, “Are you freely and voluntarily entering pleas of guilty to

Counts   1,   7,   and   9   of   the   amended   superseding   indictment?”,

defendant responded, “Yes, Your Honor.”              (Id. at pp. 21-22.)

       The magistrate judge found that defendant’s guilty pleas were

knowingly, intelligently and voluntarily made.             He also found that

the guilty pleas were not the result of any force, threats or

promises except those contained in the Plea Agreement.             (Id. at p.

22.)     The Report and Recommendation that the guilty pleas be

accepted was adopted by the undersigned.

       It is clear from the record that defendant had the close

assistance of counsel in deciding to enter his guilty pleas.

Defendant expressed confidence in Mr. Meadows at the August 1

motion hearing, and told that magistrate judge at the guilty plea

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colloquy that he was “absolutely” satisfied with the services

rendered by his attorney.       Defendant further told the magistrate

judge during the guilty plea colloquy that he and Mr. Meadows had

discussed the Sentencing Guidelines and that Mr. Meadows had

explained the various considerations in determining the Sentencing

Guidelines range.     Defendant specifically acknowledged discussing

factors including any obstruction of justice and his criminal

history. Defendant also stated that he understood that neither the

Court nor Mr. Meadows could determine the Sentencing Guidelines

range, and further stated that he understood he could not withdraw

the guilty pleas if his attorney’s prediction of sentencing range

proved inaccurate.

      The record also affirmatively establishes that defendant’s

guilty   pleas   were   knowingly    and   voluntarily     entered.      The

magistrate judge engaged in a lengthy guilty plea colloquy, which

complied with all the requirements of Rule 11.          He also solicited

questions or comments from defendant as to whether there was

anything else to be said, and defendant failed to raise any of the

claims he now asserts.

      The Court further finds that judicial resources would not be

conserved by allowing the needless withdrawal of valid guilty pleas

such as those in this case.       The government has established some

prejudice, given the delay that would be caused by the withdrawal

of the guilty pleas and the need to again obtain witnesses whose

testimony has no longer been needed. Finally, the Court finds that

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the delay in filing the motion to withdraw the guilty pleas

demonstrates defendant’s actual motive - his dissatisfaction with

the   lengthy    Sentencing    Guidelines    range    set   forth   in   the

Presentence Report.

      Accordingly, it is now

      ORDERED:

      1.   Defendant Ronald D. Luczak’s Motion to Withdraw Guilty

Plea and Request for Evidentiary Hearing (Doc. #304) is DENIED.

      2. Sentencing for defendant Ronald D. Luczak is scheduled for

June 30, 2009 at 9:00 a.m. before the undersigned.

      DONE AND ORDERED at Fort Myers, Florida, this          28th    day of

May, 2009.




Copies:
Counsel of Record




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